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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

IN RE: CASE NO. 08-13031
Chapter: 7
AE Liquidation, Inc,

Debtor

 

 

AMENDED ORDER FOR PAYMENT OF UNCLAIMED FUNDS

Upon application and in accordance with 28 USC Section 2042, the Court finds, for the Teasons stated in
the Application and supporting documentation filed contemporaneously herewith, that funds in the combined
amount of $64,169.68 are unclaimed funds due back to Morgan Stanley, successor in interest to Morgan Stanley &
Co., LLC, formerly known as Morgan Stanley & Co, Inc. (“Claimant”),

IT IS ORDERED that, pursuant to 28 US 2042, the Bankruptcy Clerk, District of Delaware, pay this
unclaimed money to the order of:

Morgan Stanley
c/o The Locator Services Group Ltd.
280 Summer Street, Suite 400
Boston, MA 02210

Dated: 2\|24 | \\.
AWN WSR

Mary F. Walrath~
Bankruptcy Judge
District of Delaware

 
